                               Case 1:18-cv-00403-LEK-KSC Document 1 Filed 10/22/18 Page 1 of 9                       PageID #: 1

                                                OR IGINAL                                                       FILED IN THE
                                                                                                        UNITED STATES DISTRICT COURT
                                                                                                             DISTRICT OF HAWAII
                                          Peter Strojnik,
                                          2375 East Camelback Road Suite 600                                   OCT 22 2018
                                                                                                        at l'l o'clock and ~min.LM.
                                     2    Phoenix, Arizona 85016
                                          Telephone: (602) 524-6602                                          SUE BEITIA, CLERK
                                     3
                  ~
                               L-,        ps@strojnik.com
             £~
......
             ·= 54
             Q "'
                       ~
                                          prose
~             ,?
                       "'             5
 0             0       ?                                           UNITED ST ATES DISTRICT COURT
 t.                    ~


 -N" .'7-.     'II:.
                       ")
                       -t-
                       ._
                                     6
                                                                           DISTRICT OF c V'1As             oa4 a3 LEK ~                [; ~
   a
 .......
               .7

                A.
                       -....         7                                                       Case No:
              J        ":>
                           J

                       c.             8
         i     v                           Peter Stroj nik,                                     VERIFIED COMPLAINT
               ~       ....,
      i;::    \.o...    1            9

     I          !z !                 0
                                                                                Plaintiff,      1. Americans with Disabilities
                                                                                                               Act
                                 11                                                               2. Discrimination in Public
                                                                vs.                                  Accommodations (State
                                 12                                                                           Law)
                                 13        Green Tea. LLC dba Travaasa Exoeriential                     3. Negligence
                                           Resorts
                                     14                                                         JURY TRIAL REQUESTED
                                     15                                      Defendant.
                                 16
                                          l. Plaintiff brings this action pursuant to the (1) Americans w ith Disabilities Act, 42
                                 17
                                             U.S.C. § 12101 et seq. and corTesponding regulations, 28 CFR Part 36 and Department
                                 18
                                             of Justice Standards for Accessib le Design ("ADA"), (2) Chapter 489 of the Hawai' i
                                 19
                                             rev ised statutes, Chapter 489, Discrimination in Public Accommodations §§489-1 et
                                 20
                                             seq ("HRS") and (3) comm on law of negligence per se.
                                 21
                                                                                  PARTIES
                                 22
                                          2. Plaintiff Peter Strojnik is a vetera n and a di sabled person as defined by the ADA and
                                 23
                                             Chapter 489 of HRS.
                                 24
                                          3. Plaintiff is a s ingle man currentl y res iding in Maricopa County, Arizona. Plai ntiff is
                                 25
                                             and, at all times relevant hereto has been, lega lly disabled by virtue of a severe right-
                                 26
                                             sided neural foraminal sten osis w ith symptoms of femoral neuropathy, prostate cancer
                                 27

                                28
Case 1:18-cv-00403-LEK-KSC Document 1 Filed 10/22/18 Page 2 of 9               PageID #: 2




  1      and renal cancer, degenerative right knee and is therefore a member of a protected

  2      class under the ADA and HRS' s Chapter 489.
  3   4. Plaintiff suffers from physical impairments described above which impairments

  4      substantially limit his major life activities. Plaintiff walks with difficulty and pain

  5      and requires compliant mobility accessible features             at places of public

  6      accommodation. Plaintifr s impairment is constant, but the degree of pain is episodic
         ranging from dull and numbing pain to extreme and excruciating agony.
  7
      5. Defendant, owns, operates leases or leases to a lodging business ("Hotel") located at
  8
         5031 Hana Hwy, Hana, HI 96713 which is a public accommodation pursuant to 42
  9
         U.S.C. § 12181(7)(A) and HRS§ 489-2. which offers public lodging services See 28
 10
         CFR §36.104 and a listing of public accommodations in 42 U.S.C. §12181(7).
 11
                                           JURISDICTION
 12
      6. District Court has jurisdiction over this case or controversy by virtue of28 U.S.C. §§
 13
         28-1331and42 U.S.C. § 12188 and 28 U.S.C. § 1367.
 14   7. Plaintiff brings this action as a private attorney general who has been personally
 15      subjected to discrimination on the basis of his disability, see 42 U.S.C.12188 and 28
 16      CFR §36.501.
 17   8. This Court has continuing subject matter jurisdiction by virtue of, inter alia,
 18      Plaintifrs claim for equitable nominal damages.

 19   9. Venue is proper pursuant to 28 U.S.C. § 1391.

 20   10. The ADAAG violations in this Verified Complaint relate to barriers to Plaintiffs

 21      mobility. This impairs Plaintifr s full and equal access to the Hotel which, in tum,
         constitutes discrimination satisfying the "injury in fact" requirement of Article III of
 22
         the United States Constitution.
 23
      11. Plaintiff is deterred from visiting the Hotel based on Plaintifrs knowledge that the
 24
         Hotel is not ADA or HRS compliant as such compliance relates to Plaintifr s
 25
         disability.
 26
      12. Plaintiff intends to visit Defendant's Hotel at a specific time when the Defendant's
 27
         noncompliant Hotel becomes fully compliant with ADAAG; just as a disabled
 28      individual who intends to return to a noncompliant facility suffers an imminent injury


                                               2
Case 1:18-cv-00403-LEK-KSC Document 1 Filed 10/22/18 Page 3 of 9                       PageID #: 3




  1      from the facility's existing or imminently threatened noncompliance with the ADA, a

  2      plaintiff who is deterred from patronizing a store suffers the ongoing actual injury of

  3      lack of access to the Hotel.

  4                                          COUNT ONE
                         Violation of Plaintiff's Civil Rights under the ADA
  5
      13. Plaintiff realleges all allegations heretofore set forth.
  6
      14. By virtue of his disability, Plaintiff requires an ADA compliant lodging facility
  7
         particularly applicable to his mobility, both ambulatory and wheelchair assisted.
  8
      15. Plaintiff intended to vacation in Hawai'i and therefore, reviewed vacation booking
  9
         websites as documented in Addendum A.
 10
      16. Air booking websites took Plaintiff to third party hotel booking websites as
 11
         documented in Addendum A.
 12   17. Plaintiff became aware that third party booking websites disclosed general availability
 13      and description of Defendant's Hotel. Third Party booking websites referenced here
 14      are more fully documented in Addendum A which is by this reference incorporated
 15      herein.
 16   18. Third party booking websites failed to identify and describe mobility related

 17      accessibility features and guest rooms offered through its reservations service in

 18      enough detail to reasonably permit Plaintiff to assess independently whether

 19      Defendant's Hotel meets his accessibility needs as more fully documented in
         Addendum A.
 20
      19. Third party booking websites also failed to make reservations for accessible guest
 21
         rooms available in the same manner as individuals who do not need accessible rooms.
 22
         See Addendum A.
 23
      20. Thereafter, Plaintiff became aware that Defendant's         1st   party booking website failed
 24
         to identify and describe mobility related accessibility features and guest rooms offered
 25
         through its reservations service in enough detail to reasonably permit Plaintiff to
 26      assess independently whether Defendant's Hotel meets his accessibility needs as more
 27      fully documented. See Addendum A.
 28


                                                  3
Case 1:18-cv-00403-LEK-KSC Document 1 Filed 10/22/18 Page 4 of 9                PageID #: 4




  1   21. Plaintiff also became aware that Defendant's 1st party booking website failed to make

  2      reservations for accessible guest rooms available in the same manner as individuals

  3      who do not need accessible rooms. See Addendum A.

  4   22. Because third and first party booking agents failed to identify and describe mobility
         related accessibility features and guest rooms offered through its reservations service
  5
         in enough detail to reasonably permit Plaintiff to assess independently whether
  6
         Defendant's Hotel meets his accessibility needs Plaintiff declined to book a room
  7
         there and because Plaintiff was unable to make reservations for accessible guest
  8
         rooms available in the same manner as individuals who do not need accessible rooms,
  9
         Plaintiff declined to book a room there.
 10
      23. Plaintiff thereafter reviewed Defend ant's online information relating to accessibility
 11
         or lack thereof, including in particular photographs of the amenities at the Hotel all as
 12      more fully documented in Addendum A.
 13   24. Online information relating to accessibility or lack thereof disclosed Defendant's non-
 14      compliance with architectural barriers to accessibility as more fully documented in
 15      Addendum A.
 16   25. Defendant has violated the ADA by denying Plaintiff equal access to its public

 17      accommodation on the basis of his disability as outlined above and as outlined in

 18      Addendum A.

 19   26. The ADA violations described in Addendum A relate to Plaintiff's disability and

 20      interfere with Plaintiff's full and complete enjoyment of the Hotel.

 21   27. As a result of the deficiencies described above, Plaintiff declined to book a room at

 22      Defendant's Hotel and did no travel to Hawai'i to vacation there.

 23   28. The removal of accessibility barriers listed above is readily achievable.

 24   29. As a direct and proximate result of ADA Violations, Defendant's failure to remove
         accessibility barriers prevented Plaintiff from equal access to the Defendant's public
 25
         accommodation.
 26
      WHEREFORE, Plaintiff prays for all relief as follows:
 27
             A. Relief described in 42 U.S.C. §2000a - 3; and
 28
             B. Relief described in 42 U.S.C. § 12188(a) and (b) and, particularly -

                                                4
Case 1:18-cv-00403-LEK-KSC Document 1 Filed 10/22/18 Page 5 of 9                 PageID #: 5




  1          C. Injunctive relief order to alter Defendant's place of public accommodation to

  2              make it readily accessible to and usable by ALL individuals with disabilities;

  3              and

  4          D. Requiring the provision of an auxiliary aid or service, modification of a
                 policy, or provision of alternative methods, to the extent required by
  5
                 Subchapter III of the ADA; and
  6
             E. Equitable nominal damages; and
  7
             F. For costs, expenses and attorney's fees; and
  8
             G. All remedies provided for in 28 C.F.R. 36.50l(a) and (b).
  9
                                           COUNT TWO
 10                       (Violation of the Hawai'i's Chapter 489, Part I)
 11
      30. Plaintiff realleges all allegations heretofore set forth.
 12   31. Defendant has violated Hawai' i's Chapter 489 Part I by denying Plaintiff equal access
 13
         to its public accommodation on the basis of his disability as outlined above and in
 14
         Addendum A.
 15
      32. Plaintiff has been injured by the unlawful discriminatory practices alleged in this
 16
         Complaint.
 17
      33. Pursuant to HRS §489-7.5, Plaintiff is entitled to -
 18
         a. sue for damages sustained, and, if the judgment is for the plaintiff, the plaintiff
 19
             shall be awarded a sum not less than $1,000 or threefold damages by the plaintiff
 20
             sustained, whichever sum is the greater, and reasonable attorneys' fees together
 21
             with the costs of suit, and
 22
         b. bring proceedings to enjoin the unlawful discriminatory practices, and if the
 23
             decree is for the plaintiff, the plaintiff shall be awarded reasonable attorneys' fees
 24
             together with the cost of suit.
 25
      WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 26
         a. A Declaratory Judgment that at the commencement of this action Defendant was
 27
             in violation of the specific requirements of Statutes; and
 28


                                                  5
Case 1:18-cv-00403-LEK-KSC Document 1 Filed 10/22/18 Page 6 of 9                   PageID #: 6




  1         c. A permanent injunction which directs Defendant to take all steps necessary to

  2            bring its Hotel into full compliance with the requirements set forth in HRS, and its

  3            implementing regulations, so that the facilities are fully accessible to, and

  4            independently usable by, disabled individuals as required by law, and which

  5            further directs that the Court shall retain jurisdiction for a period to be determined

  6            after Defendant certifies that its facilities are fully in compliance with the relevant

  7            requirements of the Statutes to ensure that Defendant has adopted and is following

  8            an institutional policy that will in fact cause Defendant to remain fully in

  9            compliance with the law; and

 10         d. The payment of costs of suit; and

 11         e. Order closure of the Defendant's Hotel until Defendant has fully complied with

 12            the ADA and HRS; and

 13         f. For damages in an amount no less than $1,000.00 per violation per encounter; and

 14         g. For treble damages pursuant to HRS §489-7.5(c).

 15         h. The provision of whatever other relief the Court deems just, equitable and

 16            appropriate.
 17                                          COUNT THREE
                                                Negligence
 18
 19   34. Plaintiff realleges all allegations heretofore set forth.

 20   35. Defendant had a duty to Plaintiff to remove ADA accessibility barriers so that Plaintiff

 21         as a disabled individual would have full and equal access to the public
            accommodation.
 22
      36. Defendant breached this duty.
 23
      3 7. Defendant is or should be aware that, historically, society has tended to isolate and
 24
            segregate individuals with disabilities, and, despite some improvements, such fonns
 25
            of discrimination against individuals with disabilities continue to be a serious and
 26
            pervasive social problem 1•
 27
 28
      I   42 U.S.C. § 12101(a)(2)

                                                   6
Case 1:18-cv-00403-LEK-KSC Document 1 Filed 10/22/18 Page 7 of 9                 PageID #: 7




  1   38. Defendant knowingly and intentionally participated in this historical discrimination

  2       against Plaintiff, causing Plaintiff damage.

  3   39. Discrimination against individuals with disabilities persists in the use and enjoyment

  4       of critical public accommodations 2•
      40. Defendant's knowing and intentional persistence in discrimination against Plaintiff is
  5
          alleged, causing Plaintiff damage.
  6
      41. Individuals with disabilities, including Plaintiff, continually encounter various forms
  7
          of discrimination, including outright intentional exclusion, the discriminatory effects
  8
          of architectural, overprotective rules and policies, failure to make modifications to
  9
          existing facilities and practices, exclusionary qualification standards and criteria,
 10
          segregation, and relegation to lesser services, programs, activities, benefits, jobs, or
 11
          other opportunities 3•
 12   42. Defendant's knowing and intentional discrimination against Plaintiff reinforces above
 13       fonns of discrimination, causing Plaintiff damage.
 14   43. Census data, national polls, and other studies have documented that people with
 15       disabilities, as a group, occupy an inferior status in our society, and are severely
 16       disadvantaged socially, vocationally, economically, and educationally4 •

 17   44.Defendant's knowing and intentional discrimination has relegated Plaintiff to an

 18       inferior status in society, causing Plaintiff damage.

 19   45. The Nation's proper goals regarding individuals with disabilities are to assure equality
          of opportunity, full participation, independent living, and economic self-sufficiency
 20
          for such individuals 5 .
 21
      46. Defendant's knowing, and intentional discrimination has worked counter to our
 22
          Nation's goals of equality, causing Plaintiff damage.
 23
      4 7. Continued existence of unfair and unnecessary discrimination and prejudice denies
 24
          people with disabilities the opportunity to compete on an equal basis and to pursue
 25
          those opportunities for which our free society is justifiably famous, and costs the
 26
      2
 27     42 U.S.C.   §12101(a)(3)
      3
        42 U.S.C.   § 121 Ol(a)(5)
      4
 28     42 U.S.C.   §12101(a)(6)
      5
        42 U.S.C.   §12101(a)(7)

                                                 7
Case 1:18-cv-00403-LEK-KSC Document 1 Filed 10/22/18 Page 8 of 9                     PageID #: 8




  1         United States billions of dollars in unnecessary expenses resulting from dependency

  2         and nonproductivity6.

  3   48. Defendant's knowing and intentional unfair and unnecessary discrimination against

  4         Plaintiff demonstrates Defendant's knowing and intentional damage to Plaintiff.
      49. Defendant's breach of duty caused Plaintiff damages including, without limitation,
  5
            the feeling of segregation, discrimination, relegation to second class citizen status the
  6
            pain, suffering and emotional damages inherent to discrimination and segregation and
  7
            other damages to be proven at trial.
  8
      50. By violating Plaintiffs civil rights, Defendant engaged in intentional, aggravated and
  9
            outrageous conduct.
 10
      51. The ADA has been the law of the land since 1991, but Defendant engaged in a
 11         conscious action of a reprehensible character, that is, Defendant denied Plaintiff his
 12         civil rights, and cause him damage by virtue of segregation, discrimination, relegation
 13         to second class citizen status the pain, suffering and emotional damages inherent to
 14         discrimination and segregation and other damages to be proven at trial
 15   52. Defendant either intended to cause injury to Plaintiff or defendant consciously
 16         pursued a course of conduct knowing that it created a substantial risk of significant

 17         harm to Plaintiff.

 18   53. Defendant is liable to Plaintiff for punitive damages in an amount to be proven at trial

 19         sufficient, however, to deter this Defendant and others similarly situated from
            pursuing similar acts.
 20
      WHEREFORE, Plaintiff prays for relief as follows:
 21
               A. For finding of negligence; and
 22
               B. For damages in an amount to be proven at trial; and
 23
               C. For punitive damages to be proven at trial; and
 24
               D. For such other and further relief as the Court may deem just and proper.
 25
                                     REQUEST FOR TRIAL BY JURY
 26
               Plaintiff respectfully requests a trial by jury in issues triable by a jury.
 27
 28
      6
          42 U.S.C. §12101(a)(8)

                                                    8
Case 1:18-cv-00403-LEK-KSC Document 1 Filed 10/22/18 Page 9 of 9              PageID #: 9




                                         VERIFICATION
  2         I declare under penalty of perjury that the foregoing is true and correct to the best
  3   of my knowledge, informati on and/or belief.
  4         RESPECTFULLY SUBMITTED this l 9t 11 day of October 20 18.
  5
                                               PETER STROJNIK
  6
  7
  8
  9
 10

 11

 12

 13

 14
 15
 16

 17

 18

 19

 20

 21

 22
 23
 24
 25
 26
 27
 28


                                               9
